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        EXHIBIT 11
4/19/2020                                            District Version
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                                                                                                                              JURY

                                                U.S. District Court
                                         Northern District of Texas (Dallas)
                                   CIVIL DOCKET FOR CASE #: 3:20-cv-00948-D


 Berkseth-Rojas DDS v. Aspen American Insurance Comoany                             Date Filed: 04/17/2020
 Assigned to: Senior Judge Sidney A Fitzwater                                       Jury Demand: Plaintiff
 Cause: 28:1332 Diversity-Insurance Contract                                        Nature of Suit: 110 Contract: Insurance
                                                                                    Jurisdiction: Diversity
 Plaintiff
 Christie Jo Berkseth-Rojas DDS                                       represented by W Mark Lanier
 Individually and on Behalf of All Others                                            The Lanier Law Firm
 Similarly Situated                                                                  10940 W. Sam Houston Pkwy N
                                                                                     Suite 100
                                                                                     Houston, TX 77064
                                                                                     713-659-5200
                                                                                     Fax: 713-659-2204
                                                                                     Email: wml@lanierlawfirm.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
                                                                                     Bar Status: Admitted/In Good Standing

                                                                                    Alex J Brown
                                                                                    The Lanier Law Firm
                                                                                    10940 W. Sam Houston Pkwy N
                                                                                    Houston, TX 77064
                                                                                    713.659.5200
                                                                                    Fax: 713.659.2204
                                                                                    Email: alex.brown@lanierlawfirm.com
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Bar Status: Admitted/In Good Standing

                                                                                    Ralph D McBride
                                                                                    Bracewell & Giuliani
                                                                                    711 Louisiana
                                                                                    Suite 2300
                                                                                    Houston, TX 77002-2770
                                                                                    713/223-2900
                                                                                    Fax: 713/221-1212
                                                                                    Bar Status: Admitted/In Good Standing


 V.
 Defendant
 Aspen American Insurance Company


  Date Filed            # Docket Text

https://ecf.txnd.uscourts.gov/cgi-bin/DktRpt.pl?749719745119981-L_1_0-1                                                         1/2
4/19/2020               Case MDL No. 2942 Document 1-14       District Version
                                                                        Filed6.3.2
                                                                               04/20/20 Page 3 of 30
  04/17/2020           1 COMPLAINT WITH JURY DEMAND against Aspen American Insurance Comoany filed
                         by Christie Jo Berkseth-Rojas DDS. (Filing fee $400; Receipt number 0539-10776148)
                         Plaintiff will submit summons(es) for issuance. In each Notice of Electronic Filing, the
                         judge assignment is indicated, and a link to the Judges Copy Requirements is provided. The
                         court reminds the filer that any required copy of this and future documents must be
                         delivered to the judge, in the manner prescribed, within three business days of filing. Unless
                         exempted, attorneys who are not admitted to practice in the Northern District of Texas must
                         seek admission promptly. Forms, instructions, and exemption information may be found at
                         www.txnd.uscourts.gov, or by clicking here: Attorney Information - Bar Membership. If
                         admission requirements are not satisfied within 21 days, the clerk will notify the presiding
                         judge. (Attachments: # 1 Exhibit(s), # 2 Cover Sheet) (Lanier, W) (Entered: 04/17/2020)
  04/17/2020           2 CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by Christie Jo
                         Berkseth-Rojas DDS. (Lanier, W) (Entered: 04/17/2020)
  04/17/2020           3 New Case Notes: A filing fee has been paid. Pursuant to Misc. Order 6, Plaintiff is provided
                         the Notice of Right to Consent to Proceed Before A U.S. Magistrate Judge (Judge Horan).
                         Clerk to provide copy to plaintiff if not received electronically. (oyh) (Entered: 04/17/2020)



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                                    Login:                                        Code:       Bus Int Ins
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                                    Description: Docket Report
                                                                                  Criteria:   00948-D
                                    Billable
                                                   2                              Cost:       0.20
                                    Pages:




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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS


CHRISTIE JO BERKSETH-ROJAS DDS,
individually and on behalf of all others
similarly situated,

                               Plaintiff,             Civil Action No. ____________

            v.
                                                      JURY TRIAL DEMANDED
ASPEN AMERICAN INSURANCE
COMPANY,

                               Defendant.



                                    CLASS ACTION COMPLAINT

       Plaintiff Christie Jo Berkseth-Rojas DDS, individually and on behalf of the other

members of the below-defined nationwide classes (collectively, the “Class”), brings this class

action against Defendant Aspen American Insurance Company (“Aspen”), and in support thereof

states the following:

                               I.       NATURE OF THE ACTION

       1.        Plaintiff Christie Jo Berkseth-Rojas DDS delivers excellent dental care to patients

at Rojas Family Dental in Minneapolis, Minnesota. Dr. Berkseth-Rojas strives to be particularly

empathetic to her patients after having endured an extraordinary amount of dental work before

she was 21 years old. Dr. Berkseth-Rojas has provided dental care to elderly and special needs

patients, has spent many years working in various community clinics, and believes that it is

important for her to provide dental care to underserved communities. At Rojas Family Dental,

Dr. Berkseth-Rojas provides affordable, convenient, high-quality dentistry to the families of the

Twin Cities.
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       2.      To protect her business in the event that she suddenly had to suspend operations

for reasons outside of her control, or in order to prevent further property damage, Plaintiff

purchased insurance coverage from Aspen American Insurance Company, including Practice

Income and other coverage, as set forth in Aspen’s Building, Blanket Dental Practice Personal

Property and Income Coverage Form (Form ASPDTPR001 0219) (“Income Coverage Form”).

       3.      Aspen’s Income Coverage Form provides “Practice Income” coverage, in which

Aspen promises to pay for loss due to the necessary suspension of practice following damage to

property, subject to a “Valued Daily Limit.”

       4.      Aspen’s Income Coverage Form also provides “Civil Authority” coverage, in

which Aspen promises to pay for loss of practice income caused by the action of a civil authority

that prohibits access to the insured premises.

       5.      Aspen’s Income Coverage Form also provides “Extra Expense” coverage, in

which Aspen promises to pay the expense incurred to restore normal practice services.

       6.      Aspen’s Income Coverage Form, under a section entitled “Duties in the Event of

Damage” mandates that Aspen’s insured must “[t]ake all reasonable steps to protect the covered

property from further damage by a covered cause of loss” and keep a record of “expenses for

emergency and temporary repairs, for consideration in the settlement of the claim.” This type of

coverage has historically been known as “sue and labor” coverage or a “sue and labor” provision,

and property policies have long provided coverage for these types of expenses.

       7.      Unlike many policies that provide Practice Income or Business Income (also

referred to as “business interruption”) coverage, Aspen’s Income Coverage Form does not

include, and is not subject to, any exclusion for losses caused by viruses or communicable

diseases.



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       8.      Plaintiff was forced to suspend or reduce her practice at Rojas Family Dental due

to COVID-19 (a.k.a. the “coronavirus” or “SARS-CoV-2”) and the resultant Executive Orders

issued by the Governor of Minnesota that non-emergency or elective dental care that requires

Personal Protective Equipment (“PPE”) be postponed indefinitely, as well as in order to take

necessary steps to prevent further damage and minimize the suspension of business and continue

operations.

       9.      Upon information and belief, Aspen has, on a widescale and uniform basis,

refused to pay its insureds under its Practice Income, Civil Authority, Extra Expense, and Sue

and Labor coverages for losses suffered due to COVID-19, any executive orders by civil

authorities that have required the necessary suspension of practice, and any efforts to prevent

further property damage or to minimize the suspension of practice and continue operations.

Indeed, Aspen has denied Plaintiff’s claim under her Aspen policy.

                             II.    JURISDICTION AND VENUE

       10.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 because

Plaintiff and Defendant are citizens of different states, and because (a) the Class consists of at

least 100 members, (b) the amount in controversy exceeds $5,000,000 exclusive of interest and

costs, and (c) no relevant exceptions apply to this claim.

       11.     Venue is proper in this District under 28 U.S.C. § 1391 because Defendant resides

in this district and a substantial portion of the acts and conduct giving rise to the claims occurred

within the District.

                                     III.    THE PARTIES

Plaintiff

       12.     Christie Jo Berkseth-Rojas DDS provides dental care to patients from the Twin

Cities at Rojas Family Dental in Minneapolis, Minnesota.
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Defendant

       13.     Aspen American Insurance Company is an admitted insurance carrier

incorporated and domiciled in the State of Texas, with its principal place of business in Rocky

Hill, Connecticut.

                             IV.    FACTUAL BACKGROUND

A.     The Income Coverage Form Protecting Plaintiff

       14.     In return for the payment of a premium, Aspen issued Policy No. D006449-03 to

Christie Jo Berkseth-Rojas DDS for a policy period of December 6, 2019 to December 6, 2020,

including a Building, Blanket Dental Practice Personal Property and Income Coverage Form.

Policy No. D006449-03 is attached hereto as Exhibit A. Dr. Berkseth-Rojas has performed all of

her obligations under Policy No. D006449-03, including the payment of premiums.             The

Covered Property, with respect to the Income Coverage Form, is 3455 4th Avenue South,

Minneapolis, Minnesota, 55408.

       15.     Plaintiff’s Income Coverage Form, included within the policy attached as Exhibit

A, includes Practice Income, Civil Authority, Extra Expense, and Sue and Labor coverages.

       16.     In many parts of the world, property insurance is sold on a specific peril basis.

Such policies cover a risk of loss if that risk of loss is specifically listed (e.g., hurricane,

earthquake, H1N1, etc.). Most property policies sold in the United States, however, including

those sold by Aspen, are all-risk property damage policies. These types of policies cover all

risks of loss except for risks that are expressly and specifically excluded.     In the Income

Coverage Form provided to Plaintiff, Aspen agreed to “pay for all direct physical damage” to the

Covered Property “caused by or resulting from any covered cause of loss,” and defined

“Covered Causes of Loss” as “ALL RISK OF DIRECT PHYSICAL LOSS except as excluded or

limited” therein.
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       17.      In the Income Coverage Form, Aspen did not exclude or limit coverage for losses

from viruses.

       18.      Losses due to COVID-19 are a Covered Cause of Loss under Aspen policies with

the Income Coverage Form.

       19.      In the Income Coverage Form, Aspen agreed to pay for its insureds’ actual loss of

Practice Income sustained due to the necessary suspension of practice during the “period of

restoration” caused by direct physical damage, subject to a Valued Daily Limit. Aspen agreed to

“pay for loss of practice income that occurs within 12 consecutive months after the date of direct

physical damage.”

       20.      “Practice Income” means net income (or loss) before tax that Plaintiff would have

earned and “continuing normal operating expenses, including payroll.”

       21.      The presence of virus or disease can constitute physical damage to property, as

the insurance industry has recognized since at least 2006. When preparing so-called “virus”

exclusions to be placed in some policies, but not others, the insurance industry drafting arm, ISO,

circulated a statement to state insurance regulators that included the following:

                Disease-causing agents may render a product impure (change its quality or
                substance), or enable the spread of disease by their presence on interior building
                surfaces or the surfaces of personal property. When disease-causing viral or
                bacterial contamination occurs, potential claims involve the cost of replacement
                of property (for example, the milk), cost of decontamination (for example, interior
                building surfaces), and business interruption (time element) losses. Although
                building and personal property could arguably become contaminated (often
                temporarily) by such viruses and bacteria, the nature of the property itself would
                have a bearing on whether there is actual property damage. An allegation of
                property damage may be a point of disagreement in a particular case.

       22.      In the Income Coverage Form, Aspen also agreed to pay necessary Extra Expense

that its insureds incur during the “period of restoration” “due to damage by a covered cause of

loss” to the Covered Property.


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       23.     “Extra Expense” means expenses necessarily incurred by Plaintiff “during the

period of restoration to continue normal services and operations.”

       24.     Aspen also agreed to pay “the actual loss of practice income” that Plaintiff

sustains “caused by action of civil authority that prohibits access to” the Covered Property “due

to the direct physical damage to property,” other than at the Covered Property, “caused by or

resulting from any covered cause of loss.”

       25.     Aspen’s Income Coverage Form, under a section entitled “Duties in the Event of

Damage” mandates that Aspen’s insured must “[t]ake all reasonable steps to protect the covered

property from further damage by a covered cause of loss” and keep a record of “expenses for

emergency and temporary repairs, for consideration in the settlement of the claim.”

       26.     Losses caused by COVID-19 and the related orders issued by local, state, and

federal authorities triggered the Practice Income, Extra Expense, Civil Authority, and Sue and

Labor provisions of the Aspen policy.

B.     The Covered Cause of Loss

       27.     The presence of COVID-19 has caused civil authorities throughout the country to

issue orders requiring the suspension of business at a wide range of establishments, including

civil authorities with jurisdiction over Plaintiff’s dental practice (the “Closure Orders”).

       1.      The Minnesota Closure Orders

       28.     On March 13, 2020, Minnesota Governor Tim Walz issued Emergency Executive

Order 20-01, “Declaring a Peacetime Emergency and Coordinating Minnesota’s Strategy to

Protect Minnesotans from COVID-19.” Governor Walz encouraged individual Minnesotans to

continue “their individual prevention efforts such as staying home when feeling sick, frequently

washing their hands, and monitoring information about COVID-19.”



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       29.     On March 16, 2020, Governor Walz issued Emergency Executive Order 20-04,

ordering closure of a variety of public accommodations.

       30.     The purpose of Executive Order 20-04 was to slow the spread of the COVID-19

pandemic in public accommodations in which Minnesotans congregate that “pose a threat to

public health by providing environments for the spread of COVID-19.”

       31.     Pursuant to Executive Order 20-04, the restricted public accommodation were to

remain closed from March 17, 2020 through March 27, 2020.

       32.     Executive Order 20-04 made it a crime, punishable by up to 90 days in jail and/or

$1,000.00 fine, to violate the Order.

       33.     Also on March 16, 2020, the American Dental Association (“ADA”)

recommended that “dentists nationwide postpone elective procedures in response to the spread of

the coronavirus disease, COVID-19, across the country.”           The ADA determined that

“[c]oncentrating on emergency dental care will allow us to care for our emergency patients and

alleviate the burden that dental emergencies would place on hospital emergency departments.”

The American Dental Hygienists’ Association (“ADHA”) issued similar guidance. The Centers

for Disease Control and Prevention (“CDC”) made the same recommendation to postpone

elective and non-urgent visits.

       34.     On March 19, 2020, Governor Walz issued Emergency Executive Order 20-09,

“Directing Delay of Inpatient and Outpatient Elective Surgery and Procedural Cases during

COVID-19 Peacetime Emergency.” Governor Walz cited March 17 and 18, 2020 guidance from

the CDC and the Centers for Medicare and Medicaid Services (“CMS”) that recommended

delaying elective inpatient and outpatient dental procedures. Governor Walz ordered that “all

non-essential or elective surgeries and procedures, including non-emerg[ency] or elective dental

care, that utilize PPE or ventilators must be postponed indefinitely.” The order took effect no
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later than the evening of March 23, 2020 and continues “for the duration of the peacetime

emergency declared in Executive Order 20-01 or until this Executive Order is rescinded.”

        35.    Executive Order 20-09 made it a crime, punishable by up to 90 days in jail and/or

$1,000.00 fine, to violate the Order.

        36.    On March 25, 2020, Governor Walz issued Emergency Executive Order 20-18

extending the mandatory closure of restricted public accommodations to May 1, 2020 and further

ordering that all mandates set forth in Executive Order 20-04 shall remain in effect until that

date.

        37.    On March 25, 2020, Governor Walz also issued Emergency Executive Order 20-

20, in which he ordered “all persons currently living within the State of Minnesota … to stay at

home or in their place of residence” except for certain exempted essential activities and work,

effective at 11:59 pm on March 27, 2020, and continuing through 5:00 pm on April 10, 2020

(a.k.a. Minnesota’s Shelter-in-Place Order).

        38.    The purpose of Executive Order 20-20 was to slow the spread of the COVID-19

pandemic.

        39.    Executive Order 20-20 provides that a violation of the Shelter-in-Place Order is

punishable by up to 90 days in jail and/or a fine not to exceed $1,000.00.

        40.    On April 8, 2020, Governor Walz issued Emergency Executive Order 20-33, in

which he extended the Shelter-in-Place Order to 11:59 p.m. on May 3, 2020.

        41.    The purpose of Executive Order 20-33 was to continue Minnesota’s measures to

slow the spread of the COVID-19 pandemic.

        2.     The Impact of COVID-19 and the Closure Orders

        42.    The presence of COVID-19 caused “direct physical loss of or damage to” the

“Covered Property” under the Plaintiff’s policy, and the policies of the other Class members, by
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denying use of and damaging the Covered Property, and by causing a necessary suspension of

operations during a period of restoration.

       43.     The Closure Orders, including the issuance of Minnesota Emergency Executive

Order Nos. 20-04, 20-09, 20-20 and 20-33, prohibited access to Plaintiff’s and the other Class

members’ Covered Property, and the area immediately surrounding Covered Property, in

response to dangerous physical conditions resulting from a Covered Cause of Loss.

       44.     As a result of the presence of COVID-19 and the Closure Orders, Plaintiff and the

other Class members lost Practice Income and incurred Extra Expense.

       45.     On or about March 27, 2020, Dr. Berkseth-Rojas submitted a claim to Aspen

under the Policy.

       46.     On March 27, 2020, less than two hours after Dr. Berkseth-Rojas submitted her

claim, Aspen, through its State Administrator (USI), denied the claim.        Aspen denied that

COVID-19 was a Covered Cause of Loss but did not identify any exclusion from coverage.

       47.     Indeed, Aspen has, on a widescale basis with many if not all of its insureds,

refused to provide Practice Income, Extra Expense, Civil Authority or Sue and Labor coverage

due to COVID-19 and the resultant executive orders by civil authorities that have required the

suspension of practice.

                          V.      CLASS ACTION ALLEGATIONS

       48.     Plaintiff brings this action pursuant to Rules 23(a), 23(b)(1), 23(b)(2), 23(b)(3),

and 23(c)(4) of the Federal Rules of Civil Procedure, individually and on behalf of all others

similarly situated.

       49.     Plaintiff Christie Jo Berkseth-Rojas DDS seeks to represent nationwide classes

defined as:



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             •   All persons and entities that: (a) had Practice Income coverage
                 under a property insurance policy issued by Aspen; (b) suffered a
                 suspension of their practice related to COVID-19, at the premises
                 covered by their Aspen property insurance policy; (c) made a claim
                 under their property insurance policy issued by Aspen; and (d)
                 were denied Practice Income coverage by Aspen for the
                 suspension of practice resulting from the presence or threat of
                 COVID-19 (the “Practice Income Breach Class”).

             •   All persons and entities that: (a) had Civil Authority coverage
                 under a property insurance policy issued by Aspen; (b) suffered
                 loss of Practice Income and/or Extra Expense caused by action of a
                 civil authority; (c) made a claim under their property insurance
                 policy issued by Aspen; and (d) were denied Civil Authority
                 coverage by Aspen for the loss of Practice Income and/or Extra
                 Expense caused by a Closure Order (the “Civil Authority Breach
                 Class”).

             •   All persons and entities that: (a) had Extra Expense coverage under
                 a property insurance policy issued by Aspen; (b) sought to
                 minimize the suspension of business in connection with COVID-
                 19 at the premises covered by their Aspen property insurance
                 policy; (c) made a claim under their property insurance policy
                 issued by Aspen; and (d) were denied Extra Expense coverage by
                 Aspen despite their efforts to minimize the suspension of their
                 practice caused by COVID-19 (the “Extra Expense Breach Class”).

             •   All persons and entities that: (a) had a Sue and Labor provision
                 under a property insurance policy issued by Aspen; (b) sought to
                 prevent property damage caused by COVID-19 by suspending or
                 reducing their practice, at the premises covered by their Aspen
                 property insurance policy; (c) made a claim under their property
                 insurance policy issued by Aspen; and (d) were denied Sue and
                 Labor coverage by Aspen in connection with the suspension of
                 their practice caused by COVID-19 (the “Sue and Labor Breach
                 Class”).

       50.       Plaintiff Christie Jo Berkseth-Rojas DDS also seeks to represent nationwide

classes defined as:

             • All persons and entities with Practice Income coverage under a
               property insurance policy issued by Aspen that suffered a
               suspension of their practice due to COVID-19 at the premises
               covered by the practice income coverage (the “Practice Income
               Declaratory Judgment Class”).


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              • All persons and entities with Civil Authority coverage under a
                property insurance policy issued by Aspen that suffered loss of
                Practice Income and/or Extra Expense caused by a Closure Order
                (the “Civil Authority Declaratory Judgment Class”).

              • All persons and entities with Extra Expense coverage under a
                property insurance policy issued by Aspen that sought to minimize
                the suspension of their practice in connection with COVID-19 at
                the premises covered by their Aspen property insurance policy (the
                “Extra Expense Declaratory Judgment Class”).

              • All persons and entities with a Sue and Labor provision under a
                property insurance policy issued by Aspen that sought to prevent
                property damage caused by COVID-19 by suspending or reducing
                practice operations, at the premises covered by their Aspen
                property insurance policy (the “Sue and Labor Declaratory
                Judgment Class”).

        51.     Excluded from each defined Class is Defendant and any of its members, affiliates,

parents, subsidiaries, officers, directors, employees, successors, or assigns; governmental

entities; and the Court staff assigned to this case and their immediate family members. Plaintiff

reserves the right to modify or amend each of the Class definitions, as appropriate, during the

course of this litigation.

        52.     This action has been brought and may properly be maintained on behalf of each

Class proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

        53.     Numerosity—Federal Rule of Civil Procedure 23(a)(1). The members of each

defined Class are so numerous that individual joinder of all Class members is impracticable.

While Plaintiff is informed and believes that there are thousands of members of each Class, the

precise number of Class members is unknown to Plaintiff but may be ascertained from

Defendant’s books and records. Class members may be notified of the pendency of this action

by recognized, Court-approved notice dissemination methods, which may include U.S. Mail,

electronic mail, internet postings, and/or published notice.



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       54.      Commonality and Predominance—Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3). This action involves common questions of law and fact, which predominate over

any questions affecting only individual Class members, including, without limitation:

             a. Aspen issued all-risk policies to the members of the Class in exchange for

                payment of premiums by the Class members;

             b. whether the Class suffered a covered loss based on the common policies issued to

                members of the Class;

             c. whether Aspen wrongfully denied all claims based on COVID-19;

             d. whether Aspen’s Practice Income coverage applies to a suspension of practice

                caused by COVID-19;

             e. whether Aspen’s Civil Authority coverage applies to a loss of Practice Income

                caused by the orders of state governors requiring the suspension of practice as a

                result of COVID-19;

             f. whether Aspen’s Extra Expense coverage applies to efforts to minimize a loss

                caused by COVID-19;

             g. whether Aspen’s Sue and Labor provision applies to require Aspen to pay for

                efforts to reduce damage caused by COVID-19;

             h. whether Aspen has breached its contracts of insurance through a blanket denial of

                all claims based on business interruption, income loss or closures related to

                COVID-19 and the related closures; and

             i. whether Plaintiff and the Class are entitled to an award of reasonable attorney

                fees, interest and costs.

       55.      Typicality—Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of the other Class members’ claims because Plaintiff and the other Class members are all
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similarly affected by Defendant’s refusal to pay under its Practice Income, Civil Authority, Extra

Expense, and Sue and Labor coverages. Plaintiff’s claims are based upon the same legal theories

as those of the other Class members. Plaintiff and the other Class members sustained damages

as a direct and proximate result of the same wrongful practices in which Defendant engaged.

        56.    Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4).

Plaintiff is an adequate Class representative because her interests do not conflict with the

interests of the other Class members who she seeks to represent, Plaintiff has retained counsel

competent and experienced in complex class action litigation, including successfully litigating

class action cases similar to this one, where insurers breached contracts with insureds by failing

to pay the amounts owed under their policies, and Plaintiff intends to prosecute this action

vigorously. The interests of the above-defined Classes will be fairly and adequately protected by

Plaintiff and her counsel.

        57.    Inconsistent or Varying Adjudications and the Risk of Impediments to Other

Class Members’ Interests—Federal Rule of Civil Procedure 23(b)(1). Plaintiff seeks class-

wide adjudication as to the interpretation, and resultant scope, of Defendant’s Practice Income,

Civil Authority, Extra Expense, and Sue and Labor coverages. The prosecution of separate

actions by individual members of the Classes would create an immediate risk of inconsistent or

varying adjudications that would establish incompatible standards of conduct for the Defendant.

Moreover, the adjudications sought by Plaintiff could, as a practical matter, substantially impair

or impede the ability of other Class members, who are not parties to this action, to protect their

interests.

        58.    Declaratory and Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2).

Defendant acted or refused to act on grounds generally applicable to Plaintiff and the other Class



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members, thereby making appropriate final injunctive relief and declaratory relief, as described

below, with respect to the Class members.

        59.     Superiority—Federal Rule of Civil Procedure 23(b)(3).          A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this class action.

Individualized litigation creates a potential for inconsistent or contradictory judgments and

increases the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties, and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court.

                                VI.     CLAIMS FOR RELIEF

                                        COUNT I
              BREACH OF CONTRACT -- PRACTICE INCOME COVERAGE
               (Claim Brought on Behalf of the Practice Income Breach Class)

        60.     Plaintiff Christie Jo Berkseth-Rojas DDS repeats and realleges Paragraphs 1-59 as

if fully set forth herein.

        61.     Plaintiff brings this Count individually and on behalf of the other members of the

Practice Income Breach Class.

        62.     Plaintiff’s Aspen insurance policy, as well as those of the other Practice Income

Breach Class members, are contracts under which Aspen was paid premiums in exchange for its

promise to pay Plaintiff’s and the other Practice Income Breach Class members’ losses for

claims covered by the policy.

        63.     In the Income Coverage Form, Aspen agreed to pay for its insureds’ actual loss of

Practice Income sustained due to the necessary suspension of practice during the “period of

restoration” caused by direct physical damage, subject to a Valued Daily Limit. Aspen agreed to



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“pay for loss of practice income that occurs within 12 consecutive months after the date of direct

physical damage.”

        64.     “Practice Income” means net income (or loss) before tax that a policyholder

would have earned and “continuing normal operating expenses, including payroll.”

        65.     COVID-19 caused direct physical loss and damage to Plaintiff’s and the other

Practice Income Breach Class members’ Covered Properties, requiring suspension of practice at

their Covered Properties. Losses caused by COVID-19 thus triggered the Practice Income

provision of Plaintiff’s and the other Practice Income Breach Class members’ Aspen insurance

policies.

        66.     Plaintiff and the other Practice Income Breach Class members have complied

with all applicable provisions of their policies and/or those provisions have been waived by

Aspen or Aspen is estopped from asserting them, and yet Aspen has abrogated its insurance

coverage obligations pursuant to the Policies’ clear and unambiguous terms.

        67.     By denying coverage for any Practice Income losses incurred by Plaintiff and the

other Practice Income Breach Class members in connection with the COVID-19 pandemic,

Aspen has breached its coverage obligations under the Policies.

        68.     As a result of Aspen’s breaches of the Policies, Plaintiff and the other Practice

Income Breach Class members have sustained substantial damages for which Aspen is liable, in

an amount to be established at trial.

                                        COUNT II
               BREACH OF CONTRACT – CIVIL AUTHORITY COVERAGE
                (Claim Brought on Behalf of the Civil Authority Breach Class)

        69.     Plaintiff Christie Jo Berkseth-Rojas DDS repeats and realleges Paragraphs 1-59 as

if fully set forth herein.



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       70.     Plaintiff brings this Count individually and on behalf of the other members of the

Civil Authority Breach Class.

       71.     Plaintiff’s Aspen insurance policy, as well as those of the other Civil Authority

Breach Class members, are contracts under which Aspen was paid premiums in exchange for its

promise to pay Plaintiff’s and the other Civil Authority Breach Class members’ losses for claims

covered by the policy.

       72.     Aspen promised to pay “the actual loss of practice income” that a policyholder

sustains “caused by action of civil authority that prohibits access to” the Covered Property “due

to the direct physical damage to property,” other than at the Covered Property, “caused by or

resulting from any covered cause of loss.”

       73.     The Closure Orders triggered the Civil Authority provision under Plaintiff’s and

the other members of the Civil Authority Breach Class’s Aspen insurance policies.

       74.     Plaintiff and the other members of the Civil Authority Breach Class have

complied with all applicable provisions of the Policies and/or those provisions have been waived

by Aspen or Aspen is estopped from asserting them, and yet Aspen has abrogated its insurance

coverage obligations pursuant to the Policies’ clear and unambiguous terms.

       75.     By denying coverage for any practice losses incurred by Plaintiff and other

members of the Civil Authority Breach Class in connection with the Closure Orders and the

COVID-19 pandemic, Aspen has breached its coverage obligations under the Policies.

       76.     As a result of Aspen’s breaches of the Policies, Plaintiff and the other members of

the Civil Authority Breach Class have sustained substantial damages for which Aspen is liable,

in an amount to be established at trial.




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                                        COUNT III
                BREACH OF CONTRACT – EXTRA EXPENSE COVERAGE
                 (Claim Brought on Behalf of the Extra Expense Breach Class)

        77.     Plaintiff Christie Jo Berkseth-Rojas DDS repeats and realleges Paragraphs 1-59 as

if fully set forth herein.

        78.     Plaintiff brings this Count individually and on behalf of the other members of the

Extra Expense Breach Class.

        79.     Plaintiff’s Aspen insurance policy, as well as those of the other Extra Expense

Breach Class members, are contracts under which Aspen was paid premiums in exchange for its

promise to pay Plaintiff’s and the other Extra Expense Breach Class members’ losses for claims

covered by the policy.

        80.     In the Income Coverage Form, Aspen also agreed to pay necessary Extra Expense

that its insureds incur during the “period of restoration” “due to damage by a covered cause of

loss” to the Covered Property.

        81.     “Extra Expense” means expenses necessarily incurred by a policyholder “during

the period of restoration to continue normal services and operations.”

        82.     Due to COVID-19 and the Closure Orders, Plaintiff and the other members of the

Extra Expense Breach Class incurred Extra Expense at Covered Property

        83.     Plaintiff and the other members of the Extra Expense Breach Class have complied

with all applicable provisions of the Policies and/or those provisions have been waived by Aspen

or Aspen is estopped from asserting them, and yet Aspen has abrogated its insurance coverage

obligations pursuant to the Policies’ clear and unambiguous terms.

        84.     By denying coverage for any business losses incurred by Plaintiff and the other

members of the Extra Expense Breach Class in connection with the Closure Orders and the

COVID-19 pandemic, Aspen has breached its coverage obligations under the Policies.
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        85.     As a result of Aspen’s breaches of the Policies, Plaintiff and the other members of

the Extra Expense Breach Class have sustained substantial damages for which Aspen is liable, in

an amount to be established at trial.

                                       COUNT IV
                BREACH OF CONTRACT – SUE AND LABOR COVERAGE
                (Claim Brought on Behalf of the Sue and Labor Breach Class)

        86.     Plaintiff Christie Jo Berkseth-Rojas DDS repeats and realleges Paragraphs 1-59 as

if fully set forth herein.

        87.     Plaintiff brings this Count individually and on behalf of the other members of the

Sue and Labor Breach Class.

        88.     Plaintiff’s Aspen insurance policy, as well as those of the other Sue and Labor

Breach Class members, are contracts under which Aspen was paid premiums in exchange for its

promise to pay Plaintiff’s and the other Sue and Labor Breach Class members’ losses for claims

covered by the policy.

        89.     In the Income Coverage Form, Aspen agreed to give due consideration in

settlement of a claim to expenses incurred in taking all reasonable steps to protect Covered

Property from further damage.

        90.     In complying with the Closure Orders and otherwise suspending or limiting

operations, Plaintiff and other members of the Sue and Labor Breach Class incurred expenses in

connection with reasonable steps to protect Covered Property.

        91.     Plaintiff and the other members of the Sue and Labor Breach Class have complied

with all applicable provisions of the Policies and/or those provisions have been waived by Aspen

or Aspen is estopped from asserting them, and yet Aspen has abrogated its insurance coverage

obligations pursuant to the Policies’ clear and unambiguous terms.



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        92.     By denying coverage for any Sue and Labor expenses incurred by Plaintiff and

the other members of the Sue and Labor Breach Class in connection with the Closure Orders and

the COVID-19 pandemic, Aspen has breached its coverage obligations under the Policies.

        93.     As a result of Aspen’s breaches of the Policies, Plaintiff and the other members of

the Sue and Labor Breach Class have sustained substantial damages for which Aspen is liable, in

an amount to be established at trial.

                                        COUNT V
          DECLARATORY JUDGMENT – PRACTICE INCOME COVERAGE
       (Claim Brought on Behalf of the Practice Income Declaratory Judgment Class)

        94.     Plaintiff Christie Jo Berkseth-Rojas DDS repeats and realleges Paragraphs 1-59 as

if fully set forth herein.

        95.     Plaintiff brings this Count individually and on behalf of the other members of the

Practice Income Declaratory Judgment Class.

        96.     Plaintiff’s Aspen insurance policy, as well as those of the other Practice Income

Declaratory Judgment Class members, are contracts under which Aspen was paid premiums in

exchange for its promise to pay Plaintiff’s and the other Practice Income Declaratory Judgment

Class members’ losses for claims covered by the Policy.

        97.     Plaintiff and the other Practice Income Declaratory Judgment Class members

have complied with all applicable provisions of the Policies and/or those provisions have been

waived by Aspen or Aspen is estopped from asserting them, and yet Aspen has abrogated its

insurance coverage obligations pursuant to the Policies’ clear and unambiguous terms and has

wrongfully and illegally refused to provide coverage to which Plaintiff and other members of the

Practice Income Declaratory Judgment Class are entitled.




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        98.     Aspen has denied claims related to COVID-19 on a uniform and class wide basis,

without individual bases or investigations, such that the Court can render declaratory judgment

irrespective of whether members of the Class have filed a claim.

        99.     An actual case or controversy exists regarding Plaintiff’s and the other Practice

Income Declaratory Judgment Class members’ rights and Aspen’s obligations under the Policies

to reimburse them for the full amount of Practice Income losses incurred by Plaintiff and the

other Practice Income Declaratory Judgment Class members in connection with suspension of

their practices stemming from the COVID-19 pandemic.

        100.    Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Practice Income Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

           i.   Plaintiff’s and the other Practice Income Declaratory Judgment Class members’
                Practice Income losses incurred in connection with the Closure Orders and the
                necessary interruption of their practices stemming from the COVID-19 pandemic
                are insured losses under their Policies; and

          ii.   Aspen is obligated to pay Plaintiff and the other Practice Income Declaratory
                Judgment Class members for the full Valued Daily Limit amount of the Practice
                Income losses incurred and to be incurred in connection with the Closure Orders
                during the period of restoration and the necessary interruption of their practices
                stemming from the COVID-19 pandemic.

                                       COUNT VI
          DECLARATORY JUDGMENT – CIVIL AUTHORITY COVERAGE
       (Claim Brought on Behalf of the Civil Authority Declaratory Judgment Class)

        101.    Plaintiff Christie Jo Berkseth-Rojas repeats and realleges Paragraphs 1-59 as if

fully set forth herein.

        102.    Plaintiff brings this Count individually and on behalf of the other members of the

Civil Authority Declaratory Judgment Class.

        103.    Plaintiff’s Aspen insurance policy, as well as those of the other Civil Authority

Declaratory Judgment Class members, are contracts under which Aspen was paid premiums in


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exchange for its promise to pay Plaintiff’s and the other Civil Authority Declaratory Judgment

Class members’ losses for claims covered by the Policy.

       104.    Plaintiff and the other Civil Authority Declaratory Judgment Class members have

complied with all applicable provisions of the Policies and/or those provisions have been waived

by Aspen or Aspen is estopped from asserting them, and yet Aspen has abrogated its insurance

coverage obligations pursuant to the Policies’ clear and unambiguous terms and has wrongfully

and illegally refused to provide coverage to which Plaintiff and other members of the Civil

Authority Declaratory Judgment Class members are entitled.

       105.    Aspen has denied claims related to COVID-19 on a uniform and class wide basis,

without individual bases or investigations, such that the Court can render declaratory judgment

irrespective of whether members of the Class have filed a claim.

       106.    An actual case or controversy exists regarding Plaintiff and the other Civil

Authority Declaratory Judgment Class members’ rights and Aspen’s obligations under the

Policies to reimburse Plaintiff and the other Civil Authority Declaratory Judgment Class

members for the full amount of covered Civil Authority losses incurred by Plaintiff and the other

Civil Authority Declaratory Judgment Class members in connection with Closure Orders and the

necessary interruption of their businesses stemming from the COVID-19 pandemic.

       107.    Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Civil Authority Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

          i.   Plaintiff’s and the other Civil Authority Declaratory Judgment Class members’
               Civil Authority losses incurred in connection with the Closure Orders and the
               necessary interruption of their practices stemming from the COVID-19 pandemic
               are insured losses under their Policies; and

         ii.   Aspen is obligated to pay Plaintiff and the other Civil Authority Declaratory
               Judgment Class members the full amount of the Civil Authority losses incurred
               and to be incurred in connection with the covered losses related to the Closure


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                Orders and the necessary interruption of their practices stemming from the
                COVID-19 pandemic

                                       COUNT VII
            DECLARATORY JUDGMENT – EXTRA EXPENSE COVERAGE
        (Claim Brought on Behalf of the Extra Expense Declaratory Judgment Class)

        108.    Plaintiff Christie Jo Berkseth-Rojas DDS repeats and realleges Paragraphs 1-59 as

if fully set forth herein.

        109.    Plaintiff brings this Count individually and on behalf of the other members of the

Extra Expense Declaratory Judgment Class.

        110.    Plaintiff’s Aspen insurance policy, as well as those of the other Extra Expense

Declaratory Judgment Class members, are contracts under which Aspen was paid premiums in

exchange for its promise to pay Plaintiff’s and the other Extra Expense Declaratory Judgment

Class members’ losses for claims covered by the Policy.

        111.    Plaintiff and the other Extra Expense Declaratory Judgment Class members have

complied with all applicable provisions of the Policies and/or those provisions have been waived

by Aspen or Aspen is estopped from asserting them, and yet Aspen has abrogated its insurance

coverage obligations pursuant to the Policies’ clear and unambiguous terms and has wrongfully

and illegally refused to provide coverage to which Plaintiff and the other members of the Extra

Expense Declaratory Judgment Class are entitled.

        112.    Aspen has denied claims related to COVID-19 on a uniform and class wide basis,

without individual bases or investigations, such that the Court can render declaratory judgment

irrespective of whether members of the Class have filed a claim.

        113.    An actual case or controversy exists regarding Plaintiff’s and the other Extra

Expense Declaratory Judgment Class members’ rights and Aspen’s obligations under the

Policies to reimburse Plaintiff and the other Extra Expense Declaratory Judgment Class members


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for the full amount of Extra Expense losses incurred by them in connection with Closure Orders

and the necessary interruption of their businesses stemming from the COVID-19 pandemic.

        114.    Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Extra Expense Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

           i.   Plaintiff’s and the other Extra Expense Declaratory Judgment Class members’
                Extra Expense losses incurred in connection with the Closure Orders and the
                necessary interruption of their practices stemming from the COVID-19 pandemic
                are insured losses under their Policies; and

          ii.   Aspen is obligated to pay Plaintiff and the other Extra Expense Declaratory
                Judgment Class members for the full amount of the Extra Expense losses incurred
                and to be incurred in connection with the covered losses related to the Closure
                Orders during the period of restoration and the necessary interruption of their
                practices stemming from the COVID-19 pandemic.

                                       COUNT VIII
             DECLARATORY JUDGMENT – SUE AND LABOR COVERAGE
        (Claim Brought on Behalf of the Sue and Labor Declaratory Judgment Class)

        115.    Plaintiff Christie Jo Berkseth-Rojas repeats and realleges Paragraphs 1-59 as if

fully set forth herein.

        116.    Plaintiff brings this Count individually and on behalf of the other members of the

Sue and Labor Declaratory Judgment Class.

        117.    Plaintiff’s Aspen insurance policy, as well as those of the other Sue and Labor

Declaratory Judgment Class members, are contracts under which Aspen was paid premiums in

exchange for its promise to pay Plaintiff’s and the other Sue and Labor Declaratory Judgment

Class members’ reasonably incurred expenses to protect Covered Property.

        118.    Plaintiff and the other Sue and Labor Declaratory Judgment Class members have

complied with all applicable provisions of the Policies and/or those provisions have been waived

by Aspen or Aspen is estopped from asserting them, and yet Aspen has abrogated its insurance

coverage obligations pursuant to the Policies’ clear and unambiguous terms and has wrongfully


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and illegally refused to provide coverage to which Plaintiff and the other members of the Sue and

Labor Declaratory Judgment Class are entitled.

       119.      Aspen has denied claims related to COVID-19 on a uniform and class wide basis,

without individual bases or investigations, such that the Court can render declaratory judgment

irrespective of whether members of the Class have filed a claim.

       120.      An actual case or controversy exists regarding Plaintiff’s and the other Sue and

Labor Declaratory Judgment Class members’ rights and Aspen’s obligations under the Policies

to reimburse Plaintiff and the other Sue and Labor Declaratory Judgment Class members for the

full amount Plaintiff and the other members of the Sue and Labor Declaratory Judgment Class

reasonably incurred to protect Covered Property from further damage by COVID-19.

       121.      Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Sue and Labor Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

            i.   Plaintiff’s and the other Sue and Labor Declaratory Judgment Class members’
                 reasonably incurred expenses to protect Covered Property from further damage by
                 COVID-19 are insured losses under their Policies; and

         ii.     Aspen is obligated to pay Plaintiff and the other Sue and Labor Declaratory
                 Judgment Class members for the full amount of the expenses they reasonably
                 incurred to protect Covered Property from further damage by COVID-19.

                                 VII.   REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the other Class members,

respectfully requests that the Court enter judgment in her favor and against Defendant as follows:

       a.        Entering an order certifying the proposed nationwide Classes, as requested herein,

designating Plaintiff as Class representative, and appointing Plaintiff’s undersigned attorneys as

Counsel for the Classes;

       b.        Entering judgment on Counts I-IV in favor of Plaintiff and the members of the

Practice Income Breach Class, the Civil Authority Breach Class, the Extra Expense Breach
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Class, and the Sue and Labor Breach Class; and awarding damages for breach of contract in an

amount to be determined at trial;

       c.      Entering declaratory judgments on Counts V-VIII in favor of Plaintiff and the

members of the Practice Income Declaratory Judgment Class, the Civil Authority Declaratory

Judgment Class, the Extra Expense Declaratory Judgment Class, and the Sue and Labor

Declaratory Judgment Class as follows;

              i.   Practice Income, Civil Authority, Extra Expense, and Sue and Labor losses
                   incurred in connection with the Closure Orders and the necessary interruption
                   of their businesses stemming from the COVID-19 pandemic are insured losses
                   under their Policies; and

             ii.   Aspen is obligated to pay for the full amount of the Practice Income (subject
                   to the Valued Daily Limit), Civil Authority, Extra Expense, and Sue and
                   Labor losses incurred and to be incurred related to COVID-19, the Closure
                   Orders and the necessary interruption of their practices stemming from the
                   COVID-19 pandemic;

       d.       Ordering Defendant to pay both pre- and post-judgment interest on any amounts

awarded;

       e.      Ordering Defendant to pay attorneys’ fees and costs of suit; and

       f.      Ordering such other and further relief as may be just and proper.

                                       VIII. JURY DEMAND

       Plaintiff hereby demands a trial by jury on all claims so triable.

Dated: April 17, 2020


                                    Signatures on following page




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                                       Respectfully submitted,


                                       /s/ W. Mark Lanier
                                       W. Mark Lanier
                                       Texas Bar No. 11934600
                                       Ralph D. McBride
                                       Texas Bar No. 13332400
                                       Alex J. Brown
                                       Texas Bar No. 24026964
                                       THE LANIER LAW FIRM, P.C.
                                       10940 West Sam Houston Parkway North
                                       Suite 100
                                       Houston, Texas 77064
                                       Telephone: 713-659-5200
                                       WML@lanierlawfirm.com
                                       skip.mcbride@lanierlawfirm.com
                                       alex.brown@lanierlawfirm.com


                                       Adam J. Levitt*
                                       Amy E. Keller*
                                       Daniel R. Ferri*
                                       Mark Hamill*
                                       Laura E. Reasons*
                                       DICELLO LEVITT GUTZLER LLC
                                       Ten North Dearborn Street, Sixth Floor
                                       Chicago, Illinois 60602
                                       Telephone: 312-214-7900
                                       alevitt@dicellolevitt.com
                                       akeller@dicellolevitt.com
                                       dferri@dicellolevitt.com
                                       mhamill@dicellolevitt.com
                                       lreasons@dicellolevitt.com

                                       Mark A. DiCello*
                                       Kenneth P. Abbarno*
                                       Mark Abramowitz*
                                       DICELLO LEVITT GUTZLER LLC
                                       7556 Mentor Avenue
                                       Mentor, Ohio 44060
                                       Telephone: 440-953-8888
                                       madicello@dicellolevitt.com
                                       kabbarno@dicellolevitt.com
                                       mabramowitz@dicellolevitt.com
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                                                    Timothy W. Burns*
                                                    Jeff J. Bowen*
                                                    Jesse J. Bair*
                                                    Freya K. Bowen*
                                                    BURNS BOWEN BAIR LLP
                                                    One South Pinckney Street, Suite 930
                                                    Madison, Wisconsin 53703
                                                    Telephone: 608-286-2302
                                                    tburns@bbblawllp.com
                                                    jbowen@bbblawllp.com
                                                    jbair@bbblawllp.com
                                                    fbowen@bbblawllp.com

                                                    Douglas Daniels*
                                                    DANIELS & TREDENNICK
                                                    6363 Woodway, Suite 700
                                                    Houston, Texas 77057
                                                    Telephone: 713-917-0024
                                                    douglas.daniels@dtlawyers.com


                                                    Counsel for Plaintiff
                                                    and the Proposed Classes


* Applications for admission pro hac vice to be filed




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